




NO. 07-07-0280-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



SEPTEMBER 5, 2007

______________________________



TEXAS DEPARTMENT OF PUBLIC SAFETY,



Appellant



V.



ROBERT AARON SANCHEZ,



Appellee

_________________________________



FROM THE 111th DISTRICT COURT OF WEBB COUNTY;



NO. 2004-CVQ-001435-D2; HONORABLE RAUL VASQUEZ, PRESIDING

_______________________________



ORDER DISMISSING APPEAL

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
_______________________________



Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ. 

Appellant, by and through its attorney, has filed an unopposed motion to dismiss. Without passing on the merits of the case, we grant the motion pursuant to Texas Rule of Appellate Procedure 42.1(a)(1)(2) and dismiss the appeal. &nbsp;Having dismissed the appeal at appellant’s request, no motion for rehearing will be entertained, and our mandate will issue forthwith.





Brian Quinn

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Chief Justice


